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                             EXHIBIT 2
Case 2:24-cv-07635-JKS-LDW      Document 31-2    Filed 09/17/24   Page 2 of 24 PageID:
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                 IN THE UNITED STATES DISTRICT COURT
                     IN THE DISTRCT OF NEW JERSEY

  Dale Ylitalo, individually and on behalf of
  all others similarly situated,

                       Plaintiff,

  v.                                            Case No. 2:24-cv-7635-JKS-LDW

  Automatic Data Processing, Inc., ADP, Inc.,
  and American Century Investments
  Services, Inc.,

                       Defendants.


  DECLARATION OF WILLIAM B. FEDERMAN IN SUPPORT OF MOTION
   OF DALE YLITALO FOR APPOINTMENT AS LEAD PLAINTIFF AND
                    APPROVAL OF COUNSEL
Case 2:24-cv-07635-JKS-LDW       Document 31-2     Filed 09/17/24   Page 3 of 24 PageID:
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       I, William B. Federman, declare as follows:

       1.    I am counsel for Dale Ylitalo (“Ylitalo”), movant for Lead Plaintiff. I

 am the founder and managing partner of Federman & Sherwood, and proposed

 lead counsel for the class in the above-captioned action. I make this declaration in

 support of Dale Ylitalo’s Motion for Appointment as Lead Plaintiff and Approval

 of Counsel. I have personal knowledge of the matters stated herein and, if called

 upon, I could and would competently testify thereto.

       2.    Attached hereto are true and correct copies of the following exhibits:

             Exhibit A:   Notice published in Business Wire on July 19, 2024,

                          announcing the pendency of the securities class action

                          against defendants herein;

             Exhibit B:   Signed PSLRA Certifications of Ylitalo;

             Exhibit C:   Firm résumé of Federman & Sherwood; and

             Exhibit D:   Firm résumé of Kantrowitz, Goldhamer & Graifman,

                          P.C.

       I declare under penalty of perjury under the laws of the United States of

 America that the foregoing is true and correct.

 Dated: September 17, 2024                    /s/ William B. Federman
                                              William B. Federman




                                          1
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                              Exhibit A
Federman & Sherwood Announces Filing of Securities Class Action La...   https://www.morningstar.com/news/business-wire/20240719650231/fe...
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           Morningstar brands and products                                                                        Company


                      BUSINESS WIRE




                      Federman & Sherwood Announces Filing of
                      Securities Class Action Lawsuit Against Automatic
                      Data Processing, Inc., ADP, LLC, and American
                      Century Investments Services, Inc.


                                      Provided by Business Wire
                                      Jul 19, 2024 2:05pm


                      Federman & Sherwood Announces Filing of Securities Class Action
                      Lawsuit Against Automatic Data Processing, Inc., ADP, LLC, and
                      American Century Investments Services, Inc.

                      Federman & Sherwood announces that on July 9, 2024, a class action lawsuit
                      was filed in the United States District Court in the District of New Jersey
                      against Automatic Data Processing, Inc. (Automatic), ADP, LLC (ADP) and
                      American Century Investments Services, Inc. (ACI) (collectively, Defendants),
                      Case No. 2:24-cv-07635. The Complaint alleges violations of federal securities
                      laws, including Section 12(a)(2) and 15 of the Securities Act, Sections 10(b)
                      and 20(a) of the Exchange Act, 29 U.S.C. § 1106, N.J.S.A. 49:3-71, Florida
                      Deceptive and unfair Trade Practices Act (FDUTPA), including allegations that
                      Defendants engaged in a course of business which operated as a fraud upon
                      the purchasers of ADP’s Simple IRAs, during the Class Period, which is July 9,
                      2021 through July 9, 2024.

                      Plaintiff seeks to recover damages on behalf of all investors who purchased
                      ADP’s Simple IRAs, during the Class Period. You may move the Court no later
                      than Tuesday, September 17, 2024, to serve as a lead plaintiff for the entire
                      Class. However, in order to do so, you must meet certain legal requirements


1 of 4                                                                                                                 9/17/2024, 12:13 PM
Federman & Sherwood Announces Filing of Securities Class Action La...   https://www.morningstar.com/news/business-wire/20240719650231/fe...
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                      pursuant to the Private Securities Litigation Reform Act of 1995 (PSLRA).

                      If you want to discuss this action, obtain further information and participate in
                      this or any other securities litigation, or should you have any questions or
                      concerns regarding this notice or preservation of your rights, please contact:

                      Tiffany Peintner
                      FEDERMAN & SHERWOOD
                      10205 North Pennsylvania Avenue
                      Oklahoma City, OK 73120
                      Email to: trp@federmanlaw.com
                      Or, visit the firm’s website at www.federmanlaw.com




                      Tiffany Peintner

2 of 4                                                                                                                 9/17/2024, 12:13 PM
Federman & Sherwood Announces Filing of Securities Class Action La...   https://www.morningstar.com/news/business-wire/20240719650231/fe...
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                      trp@federmanlaw.com

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                      news/home/20240719650231/en/



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                      Market Updates                                                          More Market Updates


                         How Much Will the Fed Cut                      Is Zscaler Stock a Buy After
                         Interest Rates?                                Earnings?



                         Preston Caldwell • Oct 6, 2022                 Malik Ahmed Khan, CFA • Sep 11, 2024




                      Stock Picks                                                                 More Stock Picks


                         The Best REITs to Buy                          3 Wide-Moat Stocks to Buy for an
                                                                        Economic Slowdown



                         Sbidag Demerjian • Dec 15, 2023                Susan Dziubinski • Sep 16, 2024




                United States



3 of 4                                                                                                                 9/17/2024, 12:13 PM
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           (Market Barometer) quotes are real-time.




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                              Exhibit B
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                             SWORN CERTIFICATE OF PLAINTIFFS


  I, Dale Ylitalo, certify that:

      1. I have reviewed the attached Complaint, adopt its allegations, and authorize the filing of a
         Lead Plaintiffs motion on my behalf.

      2. I did not purchase the securities that are the subject of this action at the direction of
         plaintiffs’ counsel or in order to participate in any private action arising under this title.

      3. I am willing to serve as a representative party on behalf of the class and will testify at
         deposition and trial, if necessary.

      4. On August 4, 2023, I, on behalf of my company R4 Construction, LLC, purchased a
         SIMPLE IRA plan from ADP, Inc. wherein ADP, Inc. agreed to withhold from my
         paycheck 6.00% of my pay to invest in American Century Investment, LLC’s One Choice
         2040 Portfolio – R Class, ticker symbol ARDRX.

      5. ADP, Inc. withheld from my paycheck 6.00% of my pay and invested the money in
         American Century Investment, LLC’s One Choice 2040 Portfolio – R Class, ticker symbol
         ARDRX during the Class Period set for in the Complaint as follows (date, buy/sell, amount
         invested/sold, type of security):

          08/17/2023 – Purchased 8.190 shares at $12.21 per share.

          08/31/2023 – Purchased 8.039 shares at $12.44 per share.

          09/14/2023 – Purchased 8.071 shares at $12.39 per share.

          09/28/2023 – Purchased 8.340 shares at $11.99 per share.

          10/20/2023 – Purchased 8.554 shares at $11.69 per share.

          10/26/2023 – Purchased 8.613 shares at $11.61 per share.

          11/09/2023 – Purchased 8.354 shares at $11.97 per share.

          11/24/2023 – Purchased 8.058 shares at $12.41 per share.

          12/07/2023 – Purchased 7.937 shares at $12.60 per share.

          12/21/2023 – Purchased 7.837 shares at $12.76 per share.

          12/21/2023 – Dividend Reinvested, purchasing 1.166 shares at $12.76 per share.
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         12/21/2023 – Longterm Capital Gain Reinvested, purchasing 0.168 shares at $12.76 per
         share.

         01/05/2024 – Purchased 7.905 shares at $12.65 per share.

         01/19/2024 – Purchased 7.843 shares at $12.75 per share.

         02/01/2024 – Purchased 7.728 shares at $12.94 per share.

         02/15/2024 – Purchased 7.686 shares at $13.01 per share.

         02/29/2024 – Purchased 7.634 shares at $13.10 per share.

         03/14/2024 – Purchased 7.570 shares at $13.21 per share.

         03/28/2024 – Purchased 7.446 shares at $13.43 per share.

     6. These purchases are ongoing through the ADP, Inc. SIMPLE IRA.

     7. I have not sought to serve, nor served, as a representative party on behalf of a class under
        this title during the last three years.

     8. I will not accept any payment for service as a representative party, except to receive my
        pro rata share of any recovery or as ordered or approved by the Court, including the award
        to a representative plaintiff of reasonable costs and expenses (including lost wages) directly
        relating to the representation of the class.

  I declare under penalty of perjury that the foregoing are true and correct statements.

       7-5-24
  ______________________                               ______________________________
  Date                                                 Dale Ylitalo
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                              Exhibit C
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                          FEDERMAN & SHERWOOD
                        (An Association of Attorneys and Professional Corporations)

 10205 N. PENNSYLVANIA AVENUE                                                     212 W. SPRING VALLEY ROAD
 OKLAHOMA CITY, OKLAHOMA 73120                                                      RICHARDSON, TEXAS 75081
 TELEPHONE: 405-235-1560                                                           TELEPHONE: 214- 696-1100
 FACSIMILE: 405-239-2112                                                             FACSIMILE: 214-740-0112

                                           FIRM RESUME
WILLIAM B. FEDERMAN. Education: Boston University (B.A., cum laude, 1979); University of Tulsa
(J.D., 1982); Phi Alpha Delta (Treasurer, 1980-1982). Admitted to practice: United States District Courts
for the following Districts: Western, Northern and Eastern, Oklahoma; Eastern, Northern, Southern, and
Western, New York; Southern, Northern, Eastern and Western, Texas; Eastern and Western, Arkansas;
District of Columbia; District of Colorado; Central and Northern Districts of Illinois; Northern District of
Ohio; District of Nebraska; Eastern and Western Districts of Michigan; Eastern District of Wisconsin;
United States Court of Appeals for the following Circuits: First, Second, Third, Fourth, Fifth, Sixth,
Seventh, Eighth, Ninth, Tenth and Eleventh and Federal; and United States Supreme Court.
Lectures/Publications: “Class Actions, New Rules and Data Breach Cases,” 40th Annual OCBA Winter
Seminar 2019; “A Case Study of Ethical Issues in Complex Litigation and Trends in Class Certification,”
39th Annual OCBA Winter Seminar, 2018; “Talkin’ About Insurance Coverage and Complex Litigation:
What Every Lawyer and Client Should Know,” 38th Annual OCBA Winter Seminar, 2017; “Securities
Litigation: Using Data to Make the Case,” by Bloomberg BNA, 2016; “The Changing Landscape for
Prosecution of Financial Claims Involving Insolvent Companies” 37th Annual OCBA Winter Seminar,
2016; “Current Status of Securities Class Actions: Where are the Courts Taking Us?” Houston Bar
Association, 2014. “Class & Derivative Actions and Securities Litigation,” 2013 Annual Meeting of the
American Bar Association; “Litigation and Employment Law Update,” Securities Industry Association
Compliance and Legal Division; “Inside a Disclosure Crisis”, 30th Annual Northwest Securities Institute
Annual Meeting and sponsored by the Washington Bar Association; “Managing Directors’ Liability,” 3rd
Annual Energy Industry Directors Conference and sponsored by Rice University; “Executive Liability -
2009 D & O Market Trends,” Chartis Insurance; “Derivative Actions and Protecting the Corporation –
Critical Issues in Today’s Banking,” Oklahoma Bar Association and the Oklahoma Bankers Association;
“Arbitration - What Is It? Why Should a Lawyer Suggest or Use It?,” Oklahoma Bar Association; “The
Attorney and Accountant as Targets in Failed Financial Institution Litigation,” American Bar Association
Trial Practice Committee; “Effective Arbitration in the 1990's - Adapting to Build a Successful Practice,”
Oklahoma County Bar Association; “Current Issues in Direct Investments and Limited Partnerships: The
Litigation Scene From All Perspectives,” American Bar Association Litigation Section; “Stockbroker
Litigation and Arbitration,” Securities Arbitration Institute. Author: “Who’s Minding the Store: The
Corporate Attorney-Client Privilege,” 52 O.B.J. 1244, 1981; “Potential Liability From Indirect
Remuneration in Private Oil and Gas Offerings,” 11 Sec. Reg. L.J. 135, 1983; “Capitalism and Reality
Meet in the Courts. . . Finally,” 59 O.B.J. 3537, 1987; “Class Actions, New Rules & Data Breach Cases,”
Annual OCBA Winter Seminar, 2019. Membership: Arbitration Panel, New York Stock Exchange;
Federal Bar Association; Oklahoma County Bar Association (Committee on Professionalism, 1987-
1990); Oklahoma Bar Association (Civil Procedure/Evidence Code, Lawyers Helping Lawyers
Assistance Program and Rules of Professional Conduct Committees, 2017-2020); American Bar
Association (Committee on Securities Litigation and Corporate Counsel); American Inns of Court
(Barrister 1990-1993 and Master 2002-2004); inducted into the Outstanding Lawyers of America, 2003;
received the Martindale-Hubbell peer review rating of AV Preeminent in both ethical standards and legal
ability; recognized as one of the “Top Lawyers of 2013” for excellence and achievements in the legal
community; Litigation Counsel of America (Trial Lawyer & Appellate Lawyer Honorary Society).
Awards/Honors: Securities Litigation and Arbitration Law Firm of the Year in Oklahoma – 2018 (Global
Law Experts Annual Awards); Securities Litigation and Arbitration Law Firm of the Year in Oklahoma –
2019, 2020 (Corporate INTL Magazine); Oklahoma Super Lawyers list by Thomson Reuters – 2019;
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Recognized for Exceptional Service and Outstanding Performance on behalf of the Federal Bar
Association (Oklahoma City Chapter) Pro Bono Program – 2018-2019, 2020, Oklahoma Super Lawyer
for 2022.

STUART W. EMMONS. (In Memoriam) Education: University of Oklahoma (J.D., 1987, with distinction);
University of Oklahoma (B.B.A., Accounting, 1984, with distinction). Admitted to practice: 1987,
Oklahoma; 1987, U.S. District Court for the Western District of Oklahoma; 1990, U.S. District Court for
the Northern District of Oklahoma; 1992, U.S. Court of Appeals, Tenth Circuit; 1994, U.S. Court of
Appeals, Eighth Circuit; U.S. Patent and Trademark Office; 2002, U.S. District Court for the District of
Colorado; U.S. District Court for the Southern District of Texas; 2003, U.S. Court of Appeals, Second
Circuit; 2004, U.S. District Court for the Northern District of Texas; U.S. Court of Appeals, Fifth Circuit;
2005, United States Supreme Court; 2005 U.S. Court of Appeals, Fourth Circuit; 2015, U.S. Court of
Appeals, First Circuit; 2016, U.S. Court of Appeals, Ninth Circuit and U.S. Court of Appeals for the First
Circuit. 1988-1989, Law Clerk to the Hon. Layn R. Phillips, U.S. District Court for the Western District
of Oklahoma. Published Decisions: American Fidelity Assurance Company v. The Bank of New York
Mellon, 810 F.3d 1234 (10th Cir. 2016); Paul Spitzberg v. Houston American Energy Corporation, et al.,
758 F.3d 676 (5th Cir. 2014); Patipan Nakkhumpun v. Daniel J. Taylor, et al., 782 F.3d 1142 (10th Cir.
2015); Membership: Oklahoma County and Oklahoma Bar Associations.

SARA E. COLLIER. Education: Oklahoma Christian University (B.S. 2000); Oklahoma City University
School of Law (J.D., 2004). Admitted to practice: Oklahoma, 2005; U.S. District Courts for the Western,
Eastern and Northern Districts of Oklahoma, 2007; U.S. District Court for the Southern District of Texas,
2007, United States Court of Appeals for Veterans Claims in Washington, DC. Membership: Oklahoma
Bar Association, American Bar Association. Ms. Collier focuses her practice on shareholder rights and
shareholder derivative actions in state and federal courts.

KENNEDY M. BRIAN. Education: University of Central Oklahoma (B.M. in Musical Theater, 2018, cum
laude; Minor in Real Estate Finance), University of Oklahoma (J.D., 2021; Dean’s Honor Roll; Academic
Achievement Award, Trial Techniques; 1L Moot Court Competition Distinguished Speaker Award;
American Indian Law Review). Admitted to practice: Oklahoma 2021; U.S. District Court for the Eastern
District of Oklahoma, 2022; U.S. District Court for the Western District of Oklahoma, 2022; U.S. District
Court for the Northern District of Oklahoma, 2023; U.S. District Court for the Northern District of Texas,
2024; U.S. District Court for the Southern District of Texas, 2024; U.S. District Court for the Eastern
District of Texas, 2024. Membership: Oklahoma Bar Association; Federal Bar Association; Junior
League of Oklahoma City; Oklahoma County Bar Association. Ms. Brian focuses her practice on
complex class action litigation, including consumer and data breach cases in state and federal courts
across the nation.

JESSICA A. WILKES. Education: Oklahoma State University (B.S. in Finance, Economics, and
Economics, with honors, 2018, magna cum laude), Baylor University School of Law (J.D. 2021, cum
laude; Dean’s Academic Excellence Full-Tuition Scholarship; Baylor Law Review, Technical Editor &
Alumni Relations Coordinator; Research Assistant for Dean and Professors; Baylor Barrister Society;
Mock Trial Team; Baylor Public Interest Society; Student Bar Association). Admitted to practice:
Oklahoma 2021; U.S. District Court for the Eastern District of Oklahoma, 2021; U.S. District Court for
the Western District of Oklahoma, 2021; U.S. District Court for the Northern District of Oklahoma, 2021;
10th Circuit Court of Appeals, 2021; U.S. District Court for the District of Colorado, 2024; U.S. District
Court for the Northern District of Texas, 2024; U.S. District Court for the Southern District of Texas,
2024; U.S. District Court for the Eastern District of Texas, 2024. Membership: Oklahoma Bar
Association; Friends of Trivera; Junior League of Oklahoma City. Ms. Wilkes focuses her practice on
complex class action litigation, including consumer, data breach, and securities cases in state and
federal courts across the nation. Ms. Wilkes has experience in and engages in trial and appellate work.
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Prior to joining Federman & Sherwood, Ms. Wilkes actively practiced in litigation for the Oklahoma
Attorney General’s Office.

TANNER R. HILTON. Education: Texas A&M University (B.S. in Political Science, 2019); Oklahoma
City University School of Law (J.D., 2022; Dean’s List Spring of 2021; Order of the Barristers; Native
American Law Student Association Moot Court Team, 2020-2022; CALI Award for Secured Transactions
(2021)). Mr. Hilton graduated from Oklahoma City University School of Law in May of 2022. Admitted
to practice: Oklahoma 2023; U.S. District Court for the Western District of Oklahoma, 2024; U.S. District
Court for the Eastern District of Oklahoma, 2024; U.S. District Court for the Northern District of
Oklahoma, 2024; U.S. District Court for the Eastern District of Texas, 2024; U.S. District Court for the
Southern District of Texas, 2024; U.S. District Court for the Northern District of Texas, 2024.
Membership: Oklahoma Bar Association, Federal Bar Association, and Order of the Barristers. Mr.
Hilton’s primary focus is in complex and class action litigation, including federal securities class actions,
data breaches, and consumer class actions.

ALEX J. EPHRAIM. Education: University of Colorado – Denver (B.A. Political Science – Public Policy
Analysis, 2018, summa cum laude, honor society, dean’s list); University of Missouri – Kansas City
School of Law (J.D. 2021; Second Century scholarship recipient, mock trial team, dean’s list). Admitted
to practice: Oklahoma, 2022; U.S. District Court for the Eastern District of Oklahoma, 2022; U.S. District
Court for the Western District of Oklahoma, 2022; U.S. District Court for the Northern District of
Oklahoma, 2022; U.S. District Court for the Southern District of New York, 2024; U.S. District Court for
the Southern District of Texas, 2024; U.S. District Court for the Eastern District of Texas, 2024.
Membership: Oklahoma Bar Association, Oklahoma County Bar Association, Federal Bar Association.
Mr. Ephraim focuses his practice on complex class action litigation, including securities class actions,
data breach, and consumer class actions.

JONATHAN J. HERRERA. Education: Austin College (B.A. in Business and Spanish, 2010, with
Honors), University of Oklahoma College of Law (J.D., 2018, with Honors; Dean’s Honor Roll, Order of
the Solicitors, Hispanic National Bar Association President, 3L Service Award, Moot Court Competition
Team Captain, Top Speaker Award). Admitted to practice: Oklahoma 2018. Membership: Oklahoma Bar
Association; Oklahoma County Bar Association; Hispanic National Bar Association; OBA Law School
Committee; OBA Awards Committee. Mr. Herrera is a transactional attorney whose multi-faceted
practice encompasses a broad range of business litigation and disputes, including data breach and
consumer class actions. He represents clients in complex business and commercial disputes in state
and federal courts and administrative proceedings. Prior to joining Federman & Sherwood, Mr. Herrera
practiced Criminal Defense in Oklahoma for over 5 years achieving successful outcomes for clients
throughout Oklahoma. Mr. Herrera focused on high profile cases, including sex crimes, drug trafficking,
assault and battery, and embezzlement.

OF COUNSEL:

JOHN CHARLES SHERWOOD. Education: Texas Christian University, (BBA, magna cum laude,
1981); Baylor School of Law (J.D., 1984). Areas of Practice: Litigation. Board Certified: Civil Trial Law,
Personal Injury Trial Law, Texas Board of Legal Specialization. Organizations: Texas Trial Lawyers,
Association of Trial Lawyers of America, Dallas Trial Lawyers Association, Dallas Bar Association,
Former Chairperson of the Solo and Small Firm Section of the Dallas Bar Association (1999), Member
of the College of the State Bar of Texas and founding President of Citizens For a Fair Judiciary (Political
Action Committee). Licenses and Courts of Practice: Member of the State Bar of Texas, National Board
of Trial Advocacy, Licensed as a Certified Public Accountant by the Texas State Board of Public
Accountancy, admitted to practice before the United States Tax Court, United States District Court,
Northern District of Texas, United States Fifth Circuit Court of Appeals, and the United States Supreme
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Court. Papers Presented: Other People’s Money, Presented to the Dallas Bar Association, Solo and
Small Firm Section; Recognition: “Top Attorneys in Texas, Business Litigation,” (2012).

JOSHUA D. WELLS. Education: Oklahoma Baptist University (B.A. 2004); Oklahoma City University
College of Law (J.D. 2008) (Dean’s List, Faculty Honor Roll, OCU American Trial Lawyers Association
Moot Court Team, 2008; Staff Member, Law Review, 2006-07; Executive Editor, Law Review, 2007-08).
Admitted to practice: Oklahoma, 2008; U. S. District Court for the Western District of Oklahoma; 2009,
U.S. District Court for the Eastern District of Oklahoma; 2011, U.S. District Court for the Northern District
of Oklahoma; 2012, U.S. Court of Appeals for the Tenth Circuit; 2016, U.S. Court of Appeals, Fourth
Circuit. Membership: Oklahoma Bar Association; Federal Bar Association; American Bar Association.
Publication: Stuck in the Mire: The Incomprehensible Labor Law, 34 Okla. City U.L. Rev. 131 (2009).
Experience: Research Assistant to J. William Conger, General Counsel and Distinguished Lecturer of
Law, Oklahoma City University and President of the Oklahoma Bar Association (2007-08). General
Counsel for Reaching Souls International (2013-2016). Mr. Wells has significant experience in complex
and class action litigation in various state and federal courts, with more than a decade of experience
protecting consumer and shareholder rights. Mr. Wells knows how to efficiently prosecute complex
cases to conclusion and practices in areas of estate planning, probate, and guardianships for both
children and adults. He is the recipient of the Federal Bar Association Pro Bono Exceptional Service
Award (2019) and is a leader in his church.

PARALEGALS:

SHARON J. KING. Ms. King has worked in the legal community for over twenty years, after having
worked in the securities and insurance industry for over fifteen years. She primarily works on insurance
and civil litigation.

JANE E. ADAMS. Mrs. Adams has over 25 years of Administrative and Finance experience focusing
her career on Human Resources. Additionally, she has first-hand experience with FEMA response as
well as government contractual administration.

TIFFANY R. PEINTNER. Mrs. Peintner has worked in the legal community for over fifteen years. Before
joining Federman & Sherwood, Mrs. Peintner worked in patent law, oil and gas, probate, banking and
real estate, family law, personal injury and insurance defense. She works in securities and civil litigation
for the firm.

FRANDELIND V. TRAYLOR. Mrs. Traylor has worked in the legal community for over fifteen years.
She provides class action, securities and derivative litigation, and product liability support for the firm.

LACRISTA A. BAGLEY. Ms. Bagley has worked in the legal community for over twenty years. Before
joining Federman & Sherwood, Ms. Bagley worked primarily in bankruptcy law that focused on Chapter
11’s and corporate liquidations. She has previous experience with estate planning, family law, civil
defense, personal injury and medical malpractice. She works in derivatives and civil litigation for the
firm.

TASHIA D. POORE. Ms. Poore has worked in the legal community for over fifteen years. Before joining
Federman & Sherwood, Ms. Poore worked in complex civil litigation, real estate and transactions, oil &
gas, trusts and estate planning, banking and construction law. She works in the areas of data breach,
shareholder derivative litigation, securities and complex litigation for the firm.
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            SELECT CASES WHERE FEDERMAN & SHERWOOD HAS SERVED AS LEAD OR CO-LEAD COUNSEL



CONSUMER CLASS ACTIONS                                                       COURT
Accreditation Commission for Education in Nursing (Data Breach)              USDC Northern District of Georgia
Albany ENT & Allergy                                                         Supreme Courts of the State of New York, Albany County
Altice USA, Inc. (Data Breach)                                               USDC Southern District of New York
Artech, LLC (Data Breach)                                                    USDC Northern District of California
AssistRx, et al (Data Breach)                                                USDC Middle District of Florida
AT&T Services Inc.                                                           USDC Northern District of Texas
Avem Health Partners, Inc. (Data Breach)                                     USDC Western District of Oklahoma
BHI Energy Services                                                          USDC District of Massachusetts
Brinker International, Inc. (Chili’s) (Data Breach)                          USDC Middle District of Florida
Bryan Cave Leighton Paisner LLP Data Breach Litigation                       USDC Northern District of Illinois
Burgerville, LLC (Data Breach)                                               Circuit Court, State of Oregon, Multnomah County
Carvin Wilson Software, LLC (Data Breach)                                    USDC District of Arizona
CentralSquare Technologies, LLC (Data Breach)                                USDC Southern District of Florida
Christie Business Holdings Company PC (Data Breach)                          USDC Central District of Illinois
Colorado Dept. of Health Care Policy & Financing/IBM (Data Breach)           District Court, City and County of Denver, State of Colorado
Dakota Growers Pasta Company, Inc. (Food Mislabeling)                        USDC District of Minnesota/District of New Jersey
Dell, Inc. (Data Breach)                                                     USDC Western District of Texas
Filters Fast, LLC (Data Breach)                                              USDC Western District of Wisconsin
Golden Corral Corporation (Data Breach) (PEC)                                USDC Eastern District of North Carolina
Hy-Vee, Inc. (Data Breach)                                                   USDC Central District of Illinois
Intellihartx (Data Breach) (Executive Lead Counsel)                          USDC Northern District of Ohio
Johns Hopkins Health System & Johns Hopkins University (Data Breach)         Circuit Court of Maryland for Baltimore City
(Interim Lead Counsel)
Lansing Community College (Data Breach) (PSC)                                USDC Western District of Michigan
LeafFilterNorth, LLC/LeafFilter North of Texas, LLC (Data Breach)            USDC Western District of Texas
Lime Crime, Inc. (Data Breach)                                               USDC Central District of California
Medical Review Institute of America, LLC (Data Breach)                       USDC District of Utah
Mednax Services, Inc. (Data Breach)                                          USDC Southern District of Florida
MedQ, Inc. (Data Breach)                                                     USDC Eastern District of Texas
Mercer University (Data Breach)                                              USDC Middle District of Georgia
MidFirst Bank and Midland Financial Co. (Data Breach)                        USDC Western District of Oklahoma
Morris Hospital (Data Breach)                                                Circuit Court of the Thirteenth Judicial Circuit Grundy, County, Illinois
In re: Navvis & Company, LLC Data Breach Litigation (Data Breach)            USDC Eastern District of Missouri
OneTouchPoint (Data Breach) (PSC)                                            USDC Eastern District of Wisconsin
In Re: Orrick, Herrington & Sutcliffe Data Breach Litigation (Data Breach)   USDC Northern District of California
(Interim Lead Counsel
Peachtree Orthopaedic Clinic, P.A. (Data Breach)                             Superior Court of Forsyth County, State of Georgia
Physician’s Business Office, Inc. (Data Breach)                              In the Circuit Court of Wood County, West Virginia
PracticeMax (Data Breach)                                                    USDC District of Arizona
Progressive Casualty Insurance (Data Breach)                                 USDC Northern District of Ohio
In re: QTC Commercial Services, LLC d/b/a IMX Medical Management             USDC Eastern District of Pennsylvania
Services, LLP Data Breach Litigation (Data Breach)
Skidmore College (Data Breach)                                               USDC Northern District of New York
Smile Brands (Data Breach)                                                   USDC Central District of California
Snap Finance (Data Breach)                                                   USDC District of Utah
Solara Medical Supplies, LLC (Data Breach)                                   USDC Southern District of California
Sysco Corporation (Data Breach) (PSC)                                        USDC Southern District of Texas
TD Ameritrade, Inc. (Data Breach)                                            USDC District of Nebraska
TMX Finance Corporation Services, Inc. (Data Breach) (PSC)                   USDC Southern District of Georgia
Wichita State University (Data Breach)                                       USDC District of Kansas
Yuma Regional Medical Center (Data Breach)                                   USDC District of Arizona
SHAREHOLDER DERIVATIVE CASES
Abercrombie & Fitch Company                                                  USDC Southern District of Ohio
American Superconductor Corporation                                          Superior Court, Commonwealth of Massachusetts
Antares Pharma, Inc.                                                         USDC District of New Jersey
In Re: Archer-Daniels-Midland Company Derivative Litigation                  USDC District of Delaware
Arrowhead Research Corporation                                               Superior Court, State of California, County of Los Angeles
Carrier Access Corporation                                                   USDC District of Colorado
Catalina Marketing Corporation                                               Chancery Court of the State of Delaware
Cell Therapeutics, Inc.                                                      USDC Western District of Washington
Computer Associates                                                          USDC Eastern District of New York
Delcath Systems, Inc.                                                        USDC Southern District of New York
Dendreon Corporation                                                         USDC Western District of Washington
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            SELECT CASES WHERE FEDERMAN & SHERWOOD HAS SERVED AS LEAD OR CO-LEAD COUNSEL



Digital Turbine, Inc.                                                 USDC Western District of Texas
Doral Financial Corporation                                           USDC Southern District of New York
Dynavax Technologies Corporation                                      Superior Court of the State of California; county of Alameda
First BanCorp.                                                        USDC District of Puerto Rico
Flowers Foods, Inc.                                                   USDC Middle District of Georgia
Genta, Inc.                                                           USDC District of New Jersey
GMX Resources, Inc.                                                   District Court of Oklahoma County, Oklahoma
Great Lakes Dredge & Dock Corporation                                 Circuit Court of Illinois, Dupage County Chancery Division
Host America Corporation                                              USDC District of Connecticut
Motricity Inc.                                                        USDC Western District of Washington
NutraCea                                                              Superior Court of Maricopa County, Arizona
Nuverra Environmental Solutions, Inc.                                 Superior Court of Maricopa County, Arizona
Nyfix, Inc.                                                           USDC District of Connecticut
OCA, Inc.                                                             USDC Eastern District of Louisiana
ONEOK, Inc.                                                           District Court of Tulsa County, Oklahoma
PainCareHoldings, Inc.                                                USDC Middle District of Florida
Seitel, Inc.                                                          USDC Southern District of Texas
Spectrum Pharmaceuticals, Inc.                                        USDC District of Nevada
The Spectranetics Corporation                                         USDC District of Colorado
ValueClick, Inc.                                                      USDC Central District of California
Zix Corporation                                                       USDC Northern District of Texas
SECURITIES CLASS ACTIONS
Amyris, Inc.                                                          USDC, Northern District of California
Bellicum Pharmaceuticals, Inc.                                        USDC Southern District of Texas
Broadwind Energy, Inc.                                                USDC Northern District of Illinois
China Valves Technology, Inc.                                         USDC Southern District of New York
Cryo-Cell International, Inc.                                         USDC Middle District of Florida
Delta Petroleum, Inc.                                                 USDC District of Colorado
Direxion Shares ETF Trust                                             USDC Southern District of New York
Ener1, Inc.                                                           USDC Southern District of New York
Exide Technologies                                                    USDC Central District of California
Galena Biopharma, Inc.                                                USDC, District of New Jersey
Houston American Energy Corp.                                         USDC Southern District of Texas
Image Innovations Holdings, Inc.                                      USDC Southern District of New York
IZEA, Inc.                                                            USDC Central District of California
Motive, Inc.                                                          USDC Western District of Texas
Quest Energy Partners LP                                              USDC Western District of Oklahoma
Secure Computing Corporation                                          USDC Northern District of California
Superconductor Technologies, Inc.                                     USDC Central District of California
UTi Worldwide, Inc.                                                   USDC Central District of California
Unistar Financial Service Corp.                                       USDC Northern District of Texas
MDL PROCEEDINGS
In re: Anthem, Inc. (Data Breach–Participating Counsel)               USDC, Northern District of California
In re: Equifax, Inc. (Data Breach–Participating Counsel)              USDC Northern District of Georgia
In re: Farmers Insurance Co.                                          USDC Western District of Oklahoma
In re: Home Depot, Inc. (Executive Committee)                         USDC Northern District of Georgia
In re: Mednax Services Inc. (Data Breach – Co-Lead Counsel)           USDC Southern District of Florida
In re: Premera Blue Cross (Data Breach–Participating Counsel)         USC, District of Oregon
In re: Samsung Electronics America, Inc.                              USDC Western District of Oklahoma
DEAL CASES (MERGERS)
Easylink Services Interna�onal Corp.                                  Superior Court of Gwinnet County, Georgia
Genon Energy, Inc.                                                    Chancery Court of the State of Delaware
Lawson So�ware, Inc.                                                  Chancery Court of the State of Delaware
Network Engines, Inc.                                                 Chancery Court of the State of Delaware
Paetec Holding Corp. Shareholder Li�g.                                Chancery Court of the State of Delaware
Williams Pipeline Partners, L.P.                                      District Court of Tulsa County, Oklahoma
Xeta Technologies, Inc.                                               District Court of Tulsa County, Oklahoma
ERISA LITIGATION
Winn-Dixie Stores                                                     USDC Middle District of Florida




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                              Exhibit D
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        Fax: 845-356-4335                                                       Fax: 201-307-1086




        KANTROWITZ, GOLDHAMER & GRAIFMAN, P.C. (“KGG”) has a nationwide class
action practice and has litigated numerous cases involving complex business litigation, consumer class
actions and securities class actions. The firm has litigated a number of cases resulting in reported
decisions, including cases of first impression. The firm also has an active personal injury and medical
malpractice practice, chaired by Barry S. Kantrowitz, and represents clients in mass tort actions.
        GARY S. GRAIFMAN is a partner in the Firm and co-chair of the Consumer Class Action
Litigation Group at KGG with Melissa R. Emert. Mr. Graifman specializes in the area of consumer
and securities class action litigation. He is admitted to practice before the courts of the State of New
York, the State of New Jersey, the United States Federal Courts for the Southern District of New York,
the Eastern District of New York, the Northern District of New York, the District of New Jersey, the
United States Court of Appeals for the First Circuit, Second Circuit, Third Circuit and the Eighth
Circuit. He is also a member of the Class Action Committee of the New Jersey State Bar Association.
Mr. Graifman is rated “AV-Preeminent” by Martindale Hubbell and has been nominated by Super
Lawyers Magazine as a New Jersey Super Lawyer for 2010-2024. He has been a panelist and speaker
on class action issues before various bar organizations including those sponsored by the Class Action
Committee of the New Jersey State Bar Association and by the National Employment Lawyers
Association, New York Chapter.
        A sampling of some of the cases Mr. Graifman has recently been involved in include:
            In re Volkswagen Timing Chain Products Liability Class Action, 16-cv-2765 (JLL)
             (D.N.J.). Mr. Graifman and the Firm served as Co-Lead Counsel in this products liability
             class action which was settled on a nationwide basis on behalf of the owners and lessees
             of approximately 477,000 class vehicles. Final approval was granted to the Settlement on
             December 14, 2018. The Settlement provided one hundred percent reimbursement for
             timing chain repairs to class members and was valued at approximately $50 million
             (inclusive of warranty extension repairs).
            In re Home Depot Consumer Data Security Breach Litig., 1:14-MD-02583-TWT
             (N.D.Ga.). Mr. Graifman and the Firm served on the five member Plaintiffs’ Steering
             Committee in this massive data breach consumer class action affecting approximately 50
             million consumers which was settled on a nationwide basis in 2016. The settlement was
             valued at approximately $27 million. Mr. Graifman obtained valuable witness information
             and documents demonstrating Home Depot was directly informed of the vulnerability
             leading to breach, prior to its occurrence. This material information was included in the
             Master Consolidated Complaint and hastened the settlement of the matter.


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             In re Premera Blue Cross Customer Data Security Breach Litig. 3:15-md-2633 (D. Ore).
              Mr. Graifman and the Firm were one of the counsel in the Premera Blue Cross Customer
              Data Breach matter, having done substantial and essential work in the case, which was
              given Final Approval in early March 2020. The firm’s client was the sole named plaintiff
              and representative for the putative California state subclass. The California subclass
              asserted a claim under the California Confidential Medical Information Act, Cal. Civ. Code
              §§ 56, et seq. which was sustained by Court on a motion to dismiss. The matter settled and
              final approval was granted on March 2, 2020. Under the terms of the settlement approved,
              the California subclass was entitled to additional compensation as a result of the firm’s
              California CMIA claim.
             Oliver, et al. v. Bayerische Motoren Werke Aktiengesellschaft, et al., 2:17-cv-12979-CCC-
              MF (D.N.J.). Mr. Graifman and the Firm served as Co-Lead Counsel on this case which
              involved defective electric coolant pumps on various BMW model vehicles. The matter
              settled and Final Approval was granted on March 9, 2021. The class includes
              approximately 563,227 vehicles. The Settlement is valued at approximately $30 Million.
             Coffeng, et al. v. Volkswagen Group of America, et al., 3:17-cvb—01825-JD (N.D. Cal.).
              Mr. Graifman and the Firm serve as Co-Lead Counsel on this consumer class action
              involving defective water pumps in a multitude of Volkswagen and Audi model vehicles.
              Final Approval was granted to the settlement on May 14, 2020. The case encompassed a
              nationwide class of owners and lessees of approximately 873,779 class vehicles and was
              valued at approximately $22 million.
             Chiarelli, et al. v. Nissan, N.A. and Duncan, et al. v. Nissan N.A., 14-CV-4327(NGG)
              (E.D.N.Y.) and 1:16-CV-12120-DJC (D. Mass.), these two companion cases involved
              multi-state claims concerning defective timing chains on various Nissan model vehicles
              and involve claims in the states of Massachusetts, New York, Texas, Florida, North
              Carolina, Maryland, Colorado and Oregon. Final Approval was granted to the settlement
              on August 25, 2020 before Judge Denise Casper in the U.S. District Court for the District
              of Massachusetts.
             Seifi, et al. v. Mercedes-Benz USA, LLC, 3:12-cv-5495-TEH (N.D. Ca.). Mr. Graifman
              and the Firm served as co-lead counsel in this litigated consumer class action seeking
              reimbursement for repairs to various Mercedes model vehicles due to a balance shaft
              defect. The action settled on a nationwide basis in 2015, valued at approximately $25
              million.
             In re Rambus Securities Inc. Litigation., 06-c-v4346-JF (U.S. District Ct., N.D. Cal.) Mr.
              Graifman and the Firm served as Co-Lead Counsel for the class in this securities class
              action involving allegations of backdating of options. The matter was settled for $18.33
              million and approved on May 14, 2008.

            Sheris v. Nissan North America, Inc., 07-cv-2516 (WHW) (U.S. District Ct., D. New
             Jersey). Mr. Graifman and the Firm served as Co-Lead Counsel for the class in this
             consumer class action against Nissan for alleged brake defect in the 2005 G35x model

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         vehicle. The Court certified a New Jersey settlement class which involved reimbursement
         of the cost of brake and rotor replacement up to $340 per brake replacement.

        Szymczak v. Nissan N. Am. Inc. (S.D.N.Y.), Case No. 10-cv-0-7493 (VB) (U.S. District
         Ct., S.D.N.Y.). Mr. Graifman and the Firm served as co-lead counsel in this litigated
         consumer class action seeking reimbursement for repairs to Nissan Pathfinder, Xterra or
         Frontier vehicles caused by cross-contamination of radiator fluid with transmission fluid
         seeping into the transmission. The matter was settled with Defendants agreeing to extend
         the warranty to 100,000 miles or 10 years and pay for the repairs during that extended
         mileage and time period, subject to certain deductibles that applied. The nationwide class
         action settlement, which involved approximately 300,000 vehicles was approved by the
         Court in May 2013. The settlement was valued at approximately $17 million.

        Jermyn v. Best Buy Stores, L.P., 1:08-cv-00214 (CM) (U.S. District Ct., S.D.N.Y.). Mr.
         Graifman and the Firm served as Co-Lead Counsel in this litigated consumer class action
         certified as a New York consumer litigation class by Hon. Colleen McMahon. The class
         consisted of Best Buy purchasers who were denied price match guarantees by Best Buy.
         The matter settled on a class-wide basis shortly before trial.

        Lubitz, et al. v. DaimlerChrysler Corp., BER-L-4883-04 (New Jersey Superior Court,
         Bergen Co.) Mr. Graifman and the Firm served as Co-Lead Counsel for the class in this
         consumer class action against DaimlerChrysler Corp. The Court certified a nationwide
         settlement class and approved a settlement valued at $14.5 million to owners of Jeep
         Grand Cherokees, model years 1999 through 2004.

        In re Trend Micro Class Action Litigation, Case No. CV 11-02488 (RMW) (U.S. District
         Ct., N.D. Calif.). Mr. Graifman and the Firm served as Co-Lead Counsel for the class in
         this consumer class action concerning the failure to provide the remaining time left on
         current trial subscriptions when the subscriber on the trial subscription converted to a paid
         subscription. The case was settled in 2013 and Final Approval of the settlement was entered
         November 15, 2013 by the Court granting subscribers cash refunds or credit towards their
         future subscriptions and changing the policy of the Company going forward.

        In re Symantec Class Action Litig., 1-05-cv-053711 (Superior Ct. Of State of California,
         Co. Of Santa Clara) (Komar, J.). Mr. Graifman and the Firm served as Co-Lead counsel in
         this consumer class action involving the cut-off of subscription time when the subscriber to
         Norton=s anti-virus software renewed or upgraded earlier than the end of the then-current
         subscription. After the class was certified upon a litigated motion, the matter was settled
         for a cash payment or a voucher for further use with the anti-virus subscription (at the
         consumer=s option), with the settlement valued in excess of $5 million.

        Lowrance, et al. v. Equinox International Corp., 2:99-cv-0969 (D.Nev.). Mr. Graifman and
         the Firm participated in trying a nationwide consumer class action case in the District of
         Nevada against multi-level marketing company, Equinox, International Corp. through the
         entire bench trial, and settling the matter on or about the last day of trial before Judge
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           Johnnie B. Rawlinson, just prior to her elevation to the U.S. Court of Appeals for the Ninth
           Circuit. The matter was tried with other plaintiffs’ counsel, who Mr. Graifman second-
           seated, and a multi-state Attorney General Task Force and resulted in the liquidation of
           Equinox and a settlement fund in excess of $30 million to repay Equinox distributors.
        MELISSA R. EMERT, ESQ., has been representing aggrieved stockholders and consumers
for more than 30 years. Ms. Emert recently joined KGG after spending most of her career at a national
class action firm where she founded and was Co-Chair of its Consumer and Antitrust Class Action
Litigation Groups. Ms. Emert’s practice focuses on consumer, antitrust and securities class
actions. She has litigated cases throughout the United States and held prominent leadership positions
in many large multidistrict litigations (“MDLs”). Melissa is a member of the New York State Bar and
is admitted to practice before the United States District Courts for the Southern and Eastern Districts
of New York. Melissa graduated from Brooklyn Law School with a Juris Doctor in 1988 and received
a Bachelor of Arts from the State University of New York at Stony Brook in 1985.
       Examples of Ms. Emert’s nationwide class action experience include:
            Court-appointed Co-Lead Counsel in Carder v. Graco Children’s Products, Inc., 2:20-cv-
             00137-LMM (N.D. Ga. 2021) (alleging state consumer protection and common law claims
             on behalf of consumers resulting from defendant’s defective and allegedly unsafe children’s
             car seat products);

            Court appointed Co-Lead Counsel in In re: Daily Fantasy Sports Litig., 1:16-md-02677-
             GAO (D. Mass 2016) (alleging violations of state consumer protection statutes and
             common law claims on behalf of consumers participating in defendants’ online fantasy
             sports websites).
            Court appointed Interim Class Counsel in In re: Google Location History Litig, 5:18-cv-
             05062-EJD (N.D. Cal. 2019) (a privacy breach action alleging Google tracked millions of
             mobile device users’ geolocation after falsely representing that activating certain settings
             will prevent the tracking).
            Discovery Committee in a court approved leadership structure in In re: Rock ‘N Play
             Sleeper Marketing, Sales Practices, and Products Liability Litigation, 1:19-md-2903
             (W.D.N.Y. 2019) (alleging violations of state consumer protection statutes and common
             law claims on behalf of consumers who purchased the defective and inherently unsafe
             Fisher-Price Rock ‘n Play Sleeper for their infant children).
            Court appointed member of Plaintiffs’ Executive Committee in In re: Apple Inc. Device
             Performance Litig., 5:18-md-02827 (N.D. Cal. 2018) (claims on behalf of iPhone and iPad
             users that have been affected by the alleged intentional slowdown of the processors).
        DANIEL EDELMAN, ESQ., is an experienced commercial litigator and member of KGG’s
 national Consumer Class Action Litigation Group, representing aggrieved plaintiffs in consumer
 fraud, data breach, automotive defect, biometric data privacy, and securities and shareholder actions.
 Mr. Edelman’s practice also includes white collar defense, representing companies in governmental
 and regulatory agency investigations at the local, state and federal levels. Mr. Edelman has
 represented publicly owned and privately-held companies, including FINRA-member broker dealers,
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 investment advisors, real estate investment and development companies and construction companies.
 Mr. Edelman has also represented high net-worth individuals in high profile business and partnership
 disputes, and also business umbrella organizations and their affiliates in complex commercial
 litigation. Typical matters include claims for fraud, breach of contract, business torts, defamation,
 and real estate litigation. As an appellate advocate, Mr. Edelman has authored winning briefs before
 the New York State Supreme Court Appellate Division and the Second Circuit.
       Prior to practicing law, Daniel served as an associate director at CBS News in New York,
 where he worked for the CBS Evening News with Dan Rather, and CBS News Special Events. Daniel
 received his Juris Doctor from the Benjamin N. Cardozo School of Law and graduated magna cum
 laude from Brandeis University in 1998. Daniel is admitted to practice law before the State Courts
 of New York and New Jersey, and the United States District Court for the Southern District of New
 York and District of New Jersey.
         WILLIAM T. SCHIFFMAN, ESQ., is a senior associate in the firm of Kantrowitz,
Goldhamer & Graifman, P.C. Mr. Schiffman received his J.D. degree from Brooklyn Law School in
1974 and is admitted to practice in New York (1975), Texas (1976), and New Jersey (1981). Mr.
Schiffman was Law Clerk to the Honorable Woodrow Seals, United States District Judge, Southern
District of Texas from 1974-1977. From 1977-1979, Mr. Schiffman was associated with the law
firm of Urban & Coolidge in Houston Texas. Mr. Schiffman's principal practice area was
commercial litigation. From 1979 to 1985, Mr. Schiffman was an attorney for AT&T, first in the
Long Lines Department in Atlanta, Georgia, and then in company headquarters in New Jersey. Mr.
Schiffman's responsibilities were principally in the area of general litigation and the AT&T antitrust
litigation prior to divestiture. From 1985 to 1993, Mr. Schiffman was with the law firm of Jacobi &
Meyers, first as the managing attorney of several offices, then as New Jersey resident partner in
charge of the northern New Jersey offices. From 1993 to date, Mr. Schiffman has been associated
with KGG.




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